 Case 3:18-cv-02163-MMA-WVG Document 5 Filed 12/13/18 PageID.27 Page 1 of 2



 1   LAW OFFICE OF DANIEL G. SHAY
 2   Daniel G. Shay, Esq.
     California Bar No. 250548
 3   Law Office of Daniel G. Shay
 4   409 Camino Del Rio South, Ste 101B
     San Diego, CA 92108
 5   Phone: 619-222-7429
 6   Fax: 866-431-3292
     danielshay@tcpafdcpa.com
 7

 8   GREENWALD DAVIDSON RADBIL PLLC
     Jesse S. Johnson (pro hac vice)
 9   Florida Bar No. 0069154
10   5550 Glades Road, Suite 500
     Boca Raton, FL 33431
11   Phone: 561-826-5477
12   Fax: 561-961-5684
     jjohnson@gdrlawfirm.com
13

14   Counsel for Plaintiff and the proposed class

15                           UNITED STATES DISTRICT COURT
16                         SOUTHERN DISTRICT OF CALIFORNIA
17   ADRIAN CHAVEZ, on behalf of              Case No. 3:18-cv-02163-MMA-WVG
18   himself and others similarly situated,
                                              NOTICE OF DISMISSAL
19           Plaintiff,
20
                            v.
21

22   DeVILLE ASSET
     MANAGEMENT, LTD.,
23

24           Defendant.
25

26
27

28

                                               1
     Notice of Dismissal
 Case 3:18-cv-02163-MMA-WVG Document 5 Filed 12/13/18 PageID.28 Page 2 of 2



 1           Notice is hereby given that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules
 2
     of Civil Procedure, Adrian Chavez dismisses his claims against DeVille Asset
 3

 4   Management, Ltd.

 5

 6   Dated: December 13, 2018         GREENWALD DAVIDSON RADBIL PLLC

 7                                    By: s/ Jesse S. Johnson
 8                                    Jesse S. Johnson
                                      jjohnson@gdrlawfirm.com
 9                                    5550 Glades Road, Suite 500
10                                    Boca Raton, FL 33431

11                                    LAW OFFICE OF DANIEL G. SHAY
12                                    Daniel G. Shay, Esq.
                                      danielshay@tcpafdcpa.com
13                                    409 Camino Del Rio South, Suite 101B
14                                    San Diego, CA 92108

15                                    Counsel for Plaintiff and the proposed class
16

17

18

19
20

21

22

23

24

25

26
27

28

                                                 2
     Notice of Dismissal
